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8
                             UNITED STATES DISTRICT COURT
9
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
                                     WESTERN DIVISION
11
       Digital Marketing Advisors,     )      CASE NO.: 2:21-cv-6888
12                                     )
                  Plaintiff,           )      The Honorable Andre Birotte Jr.
13                                     )
14          v.                         )      DEFENDANTS’ REPLY
                                       )      MEMORANDUM OF POINTS AND
15                                            AUTHORITIES IN FURTHER
       McCandless Group, LLC, et al.,  )      SUPPORT OF THEIR MOTION FOR
16                                     )      ATTORNEY’S FEES, OR, IN THE
                  Defendants.          )      ALTERNATIVE, FOR SANCTIONS
17                                     )      PURSUANT TO C.D. CAL. LOCAL
                                       )      RULES 11-9 AND 83-7, 28 US.C. § 1927
18                                            AND/OR THE COURT’S INHERENT
                                       )      AUTHORITY
19                                     )
                                       )
20                                     )      Date:      June 17, 2022
                                       )      Time:      10:00 a.m.
21     _______________________________ )      Courtroom: 7B
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 1          Plaintiff freely admits that it had no case as of November 10, 2021. (See Opp’n
 2 at 3:8-9.)1 It is of that date that it was banned from Reddit for a reason that had nothing
 3 to do with Defendants. (See Declaration of Zachary Urbina, Dkt. No. 54-1 (“Urbina
 4 Decl.”) at ¶ 9 (declaring under oath that Plaintiff’s current ban is not related to any of
 5 Defendants’ actions alleged in Plaintiff’s complaint).) In fact, even earlier, as of
 6 September 15, 2021, Plaintiff’s Reddit account was fully restored. (See id. at ¶ 7.) Yet
 7 despite two amendments it filed since then, as well as an opposition to a motion to
 8 dismiss, Plaintiff continued prosecuting its case without having any basis, let alone a
 9 good faith one. In fact, in its FAC dated November 30, 2021, Plaintiff continued
10 asserting that it was “permanently” banned as of August 15, 2021 as a result of
11 Defendants’ takedown notices. (Dkt. No. 22 at ¶ 23.)
12          Regardless, Plaintiff further concedes it never had any facts to support its
13 allegations that Defendants supposedly issued their takedown notices in bad faith,
14 which is a separate and independent ground for the motion at bar. Rather, it points to
15 an authority dealing with automatic takedown notices as supposedly condoning its right
16 to assert DMCA claims without any supporting facts. If all of this was not enough to
17 justify Defendants’ request for fees and/or sanctions, Plaintiff continues to threaten
18 more baseless actions. If this Court does not grant the request, Plaintiff will persist in
19 its vexatious ways, thus further abusing judicial resources and causing Defendants to
20 expend unnecessary fees. In other words, Plaintiff will continue essentially extorting
21 these Defendants unless this Court puts a stop to it.
22          Indeed, Plaintiff’s opposition itself epitomizes its baseless litigation tactics.
23 Thus, Plaintiff claims that Defendants “failed to produce any invoices for [their]
24 motion” (Opp’n at 14), yet they were all produced as Exhibit 1 to the Declaration of
25 Gerard P. Fox (Dkt. No. 53-2), save for the May 2022 invoice, which (at that point) did
26
27    All internal alterations, quotation marks, footnotes and citations herein are omitted,
      1

   and all emphasis is added unless otherwise noted. All defined terms are the same as
28 those found in Defendants’ moving papers.
                                              1
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 1 not exist and was thus replaced with a preliminary time report. Similarly, Plaintiff
 2 emphasizes that it never received any safe harbor notices under Rule 11 (see Opp’n at
 3 10:25-11:3), ignoring that Defendants did not move for sanctions under Rule 11 but
 4 rather sought sanctions under the corresponding Local Rules, as approved by this Court.
 5 (See Defendants’ Memorandum of Points and Authorities in Support of Their Motion
 6 for Attorney’s Fees, or, in the Alternative, for Sanctions Pursuant to C.D. Cal. Local
 7 Rules 11-9 and 83-7, 28 U.S.C. § 1927 and/or the Court’s Inherent Authority (“Def.
 8 Br.”) at 18:5-9, citing Disney Enterprises, Inc. v. VidAngel Inc., 2017 WL 6819882, at
 9 *3 (C.D. Cal. Oct. 5, 2017) (Birotte Jr., J.) (“Angel argues that because they withdrew
10 the motion within 2 weeks of filing it, they are not subject to sanctions under Rule 11,
11 which provides a 21-day safe harbor period…. However, the Plaintiffs did not file their
12 sanctions motion pursuant to Rule 11, but rather Local Rules 11-9 and 83-7 ….”).)
13          In the end, other than the self-serving conclusory statements that its case was not
14 frivolous or prosecuted in bad faith, Plaintiff’s own email communications that
15 Defendants introduced in support of their motion speak volumes otherwise—in fact,
16 nowhere does Plaintiff even address them in its opposition papers.                In those
17 communications, following this Court’s Dismissal Order and its warning that any
18 further amendment must comply with applicable rules, including Rule 11’s good faith
19 standard, Plaintiff still insisted on threatening even more baseless actions in another
20 forum while treating the one at bar as a discarded pawn in its sinister chess games of
21 multiple fora. It is this unabashed gamesmanship that torpedoes any good faith
22 assertions in Plaintiff’s opposition, which thus effectively amounts to no opposition at
23 all.
24          Indeed, nothing sets this Plaintiff apart from those “serial litigants … [that]
25 bring[] unmeritorious suits and then unnecessarily driv[e] up litigation costs in order to
26 drive a settlement.” (Def. Br. at 1, citing Perfect 10, Inc. v. Giganews, Inc., 2015 WL
27 1746484, at *12 (C.D. Cal. Mar. 24, 2015) (Birotte Jr., J.), aff’d, 847 F.3d 657 (9th Cir.
28 2017).) In opposition, Plaintiff still insists that its allegations must be taken as true,
                                               2
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 1 even though, in the same breadth, it also confirms that two months after it brought suit,
 2 its Reddit account was banned for reasons that had nothing to do with Defendants.
 3 Having admitted that, it dares to fault this Court for drawing wrong “inferences”—even
 4 though Plaintiff itself pleaded the links in its own complaint that show the actual reason
 5 for its current ban. It then complains that the Court demanded too much pleading on
 6 the bad faith element, ignoring all the authorities that mandate the heightened standard
 7 under the DMCA so that litigants like Plaintiff are foreclosed from doing exactly what
 8 Plaintiff did here—that is, come to this Court without a shred of any supporting facts.
 9          Plaintiff also laments that Defendants never even contested that they issued
10 notices without owning copyrights 2 or even put in an affirmative showing that they
11 acted in good faith. (See Opp’n at 6:20-7:6.) But none of that is Defendants’ burden
12 when they challenge the pleadings on their face. By contrast, it is both Plaintiff’s and
13 its counsel’s obligation to come to this Court with facts sufficient to support their
14 claims. Plaintiff’s opposition papers confirm that that no such facts ever existed, and
15 both Plaintiff and its counsel knew it. If this is not a case for awarding Defendants their
16 unnecessarily incurred fees, nothing will ever be.
17                                        ARGUMENT
18          As Plaintiff chose to ignore the billing records submitted in support of
19 Defendants’ motion (see Dkt. No. 53-2),3 the reasonableness of Defendants’ claimed
20 fees stands unchallenged. As such, the only issue remaining before the Court is
21
22    Aside from being irrelevant, this assertion is also inaccurate. (See Declaration of
      2

   Nicholas McCandless, Ex. 1 (Dkt. No. 35-1) at 8 (Defendant McCandless asserting in
23 the takedown notice that the copyright ownership claim had a good faith basis because
24 the post contained “a photograph I took”).)
25
   3
      Despite claiming that no invoices were provided, Plaintiff still asserts that all
   Defendants’ expenditures were “lump[ed]” together (Opp’n at 14:5-6), presumably
26 based on the total number of fees claimed in the motion. Regardless, Mr. Fox’s
27 supporting declaration, in addition to attaching all the monthly invoices, also separately
   outlined all the categories of services rendered in this case on Defendants’ behalf (see
28 Dkt. No. 53-1 at ¶ 24).
                                               3
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 1 whether the fees should be awarded. Plaintiff’s opposition provides no cognizable
 2 reasons to refuse the requested award, be it through shifting fees to the winning party
 3 under the Copyright Act or through an award of sanctions. As shown in Defendants’
 4 opening papers and further demonstrated below, since awarding Defendants their
 5 requested fees here promotes the DMCA’s stated objectives to enable them to “police
 6 their copyrights on the internet,” 4 “the pivotal criterion” of furthering the purposes of
 7 the statute under the Fogerty factors is clearly met. Perfect 10, 2015 WL 1746484, at
 8 *3, citing Fantasy, Inc. v. Fogerty, 94 F.3d 553, 558 (9th Cir. 1996). In response,
 9 Plaintiff mistakenly focuses on the supposed merits of its claims, yet requiring that a
10 losing plaintiff’s claim be unreasonable before fees may be awarded to a prevailing
11 defendant conflicts with Fogerty and “seeks to resurrect the long-rejected requirements
12 of frivolousness and bad faith” before defendants could be awarded attorney’s fees.
13 Mattel, Inc v. MGA Entm’t, Inc., 705 F.3d 1108, 1111 (9th Cir. 2013). Crucially, as
14 Defendants already showed, this Court itself found it “important to emphasize” that the
15 award of attorney’s fees under the statute “is not cabined by a requirement of culpability
16 on the part of the losing party,” and such awards are proper “even when a party acted
17 reasonably or in good faith.” (Def. Br. at 8-9, citing Perfect 10, 2015 WL 1746484, at
18 *3.). Indeed, the Fogerty court itself affirmed a $1.3 million fee award to the prevailing
19 defendants even though the plaintiff had in good faith asserted a non-frivolous claim.
20 Yet the Fogerty court found that fees were properly awarded because the defendants’
21 successful defense of the claim “further[ed] the underlying purposes of the Copyright
22 Act.” Fogerty, 94 F.3d at 555. Since it would do the same here, Defendants’ motion
23 should be granted.
24
25
      4
       Ouellette v. Viacom Int’l, Inc., 2012 WL 1435703, at *2 (D. Mont. Apr. 25, 2012) ,
26 aff’d, 671 F. App’x 972 (9th Cir. 2016), citing Perfect 10, Inc. v. CCBill LLC, 488 F.3d
27 1102, 1113 (9th Cir.2007) (noting that the takedown provisions of the statute place the
   “burden of policing copyright infringement ... squarely on the owners of the
28 copyright”).
                                              4
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 1          In the alternative, as demonstrated in Defendants’ opening papers and further
 2 shown below, Plaintiff and its counsel continued prosecuting the claims here knowing
 3 they had no supporting facts. In fact, Plaintiff’s email communications submitted in
 4 support of Defendants’ motion demonstrate that it intends to file seven more baseless
 5 actions in another forum, despite this Court’s Dismissal Order that has already put it on
 6 notice that it cannot state a viable claim. Indeed, Plaintiff itself never took the action at
 7 bar seriously, threatening to dispense with it altogether and continue elsewhere even
 8 before the Court’s Dismissal Order. In other words, Plaintiff came here with no other
 9 purpose but to maximize Defendants’ fees and extort a settlement. Now, more than
10 eighty thousand in Defendants’ fees later, Plaintiff and its counsel should not be allowed
11 to disappear into the sunset without paying the price.
12          A.    The Fogerty Factors Compel the Requested Fee Shifting.
13          As Defendants demonstrated in their opening papers, their “defense was the type
14 of defense that furthers the purposes underlying the Copyright Act and therefore should
15 be encouraged through a fee award.” Fogerty, 94 F.3d at 556. This is because “[a]
16 successful defense [in itself] furthers the purposes of the Copyright Act ….” (Def. Br.
17 at 10:14-17, citing, inter alia, Gold Value Int’l Textile, Inc. v. Sanctuary Clothing, LLC,
18 925 F.3d 1140, 1149 (9th Cir. 2019).) Since, as this Court and countless other courts
19 recognized, furthering the purposes of the statute is “the most important factor” in the
20 Fogerty analysis (Def. Br. at 10:10-14, citing, inter alia, Microsoft Corp. v.
21 Softwareau.com, 2016 WL 7647682, at *4 (C.D. Cal. June 22, 2016) (Birotte Jr., J.)),
22 this factor weighs decisively in favor of the requested award. Moreover, as this Court
23 further recognized, “[d]eterring non-meritorious lawsuits against defendants seen as
24 having ‘deep pockets’ and compensating parties that must defend themselves against
25 meritless claims are both laudible ends.” (Def. Br. at 10:18-21, citing Perfect 10, 2015
26 WL 1746484, at *12.) Accordingly, since a defensive fee award under the Act would
27 “discourage serial litigants from bringing unmeritorious suits and then unnecessarily
28 driving up litigation costs in order to drive a settlement[,] [s]uch a result is entirely
                                              5
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 1 consistent with the purpose of the Copyright Act, and this factor weighs in favor of an
 2 award of attorneys’ fees.” (Id., citing Perfect 10, 2015 WL 1746484, at *12.).
 3         As Defendants further showed, Plaintiff here is precisely the type of “a serial
 4 plaintiff” that this Court already found warranting fee shifting under the statute in
 5 Perfect 10. Plaintiff’s emails, which it fails to even address in its opposition, confirm
 6 that the only purpose behind its venture into this Court was to maximize Defendants’
 7 costs in order to drive a settlement. (See Def. Br. at 6:22-7:18.) Indeed, when Plaintiff
 8 saw the writing on the wall that no easy settlement would be forthcoming, it threatened
 9 to abandon the case at bar altogether and file seven more meritless actions elsewhere.
10 (See id., citing Dkt. No. 43-2.) Once this Court issued its Dismissal Order, Plaintiff
11 remained resolute, unabashedly proclaiming: “I’m just going to keep suing you.” (Def.
12 Br. at 6:22-7:18, citing Dkt. No. 53-3.) It would thus actually frustrate the purposes of
13 the Act’s fee shifting provisions to stick Defendants with the bill for Plaintiff’s costly
14 stop in this Court on its way to more meritless actions.
15         Plaintiff responds by rehashing its meritless arguments raised in opposition to
16 Defendants’ motion to dismiss, claiming that its allegations are “deemed as true” and
17 that its attempt to saddle Defendants with all the blame for Plaintiff’s “permanent”
18 Reddit ban must be accepted at face value despite its own allegations (and now also its
19 sworn declaration) confirming that it had nothing to do with Defendants. (Opp’n at
20 1:20-22 & 2:12-14; see also Urbina Decl. at ¶ 9.) Additionally, Plaintiff also faults the
21 Court for faithfully following the precedent and requiring Plaintiff to meet the Ninth
22 Circuit’s “high bar” of pleading sufficient facts in support of the asserted bad faith under
23 the statute instead of the run-of-the-mill general scienter standard touted by Plaintiff.
24 (See Opp’n at 8:19-22.) Indeed, the irony is lost on Plaintiff here, considering that it
25 was to deter the meritless suits like the one at bar that was the reason for the Ninth
26 Circuit’s imposition of its “high bar” standard under the statute in the first place. (Def.
27 Br. at 1:11-17, citing Rossi v. Motion Picture Ass’n of Am. Inc., 391 F.3d 1000, 1004-
28 05 (9th Cir. 2004), and Ouellette, 2012 WL 1435703, at *3 (observing that “[t]he Ninth
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 1 Circuit has interpreted § 512(f) as setting a high bar for plaintiffs,” and thus “§ 512(f)
 2 requires [plaintiff] to allege facts, at the pleading stage, that demonstrate that
 3 [defendant] acted without a good-faith belief,” since “[t]he high standard for a § 512(f)
 4 claim reflects the reality that copyright owners face an uphill battle to protect their
 5 copyrights on the internet…. Without the subjective standard, copyright owners …
 6 could face limitless lawsuits just by policing its copyrighted material on the
 7 internet.”).)5    In other words, Plaintiff’s response merely attempts to relitigate
 8 Defendants’ motion to dismiss and offers nothing to contradict Defendants’ showing on
 9 the “most important” factor of them all—namely, that the requested award here would
10 further the purposes of the statute because of Defendants’ successful defense. Indeed,
11 although Plaintiff claims that a fee award here would somehow “chill[]” other copyright
12 plaintiffs (Opp’n at 9:11-13), it would actually promote the Act’s purposes if those
13 plaintiffs are anything like Plaintiff here. (Def. Br. at 11:6-9, citing Goldberg v.
14 Cameron, 2011 WL 3515899, at *6 (N.D. Cal. Aug. 11, 2011) (finding that the fee
15 award would comport with the statute’s goals where it “would deter other plaintiffs
16 from bringing [similarly] meritless, objectively unreasonable claims”).)          See also
17 Perfect 10, 2015 WL 1746484, at *12-13 (rejecting similar “chilling effect arguments),
18 citing, inter alia, Mattel, Inc. v. Walking Mountain Prods., 353 F.3d 792, 816 (9th Cir.
19 2003) (“Under the Copyright Act, the question is whether a successful defense of the
20 action furthered the purposes of the Act, not whether a fee award would do so.”).
21         To the extent Plaintiff’s arguments are designed to demonstrate that its claims
22
23
     5
         Plaintiff’s complete ignorance of the fact that it sued under a special statute with a
     special pleading standard is further betrayed by its reliance on In re GlenFed, Inc. Sec.
24   Litig., 42 F.3d 1541, 1546-47 (9th Cir. 1994), which, of course, had nothing to do with
25   the DMCA that was passed four years later in 1998. Rather, GlenFed dealt with the
     pleading standard for fraud claims under Rule 9(b), and even for those claims it
26   approved of “a complaint’s general averment of the defendant’s ‘knowledge’ of
27   material falsity” only where it “also sets forth specific facts that make it reasonable to
     believe that defendant knew that a statement was materially false or misleading.” Id. at
28   1546 (original italics). Plaintiff pleaded no such circumstances here.
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 1 were objectively reasonable, this consideration should bear little weight on the analysis,
 2 since Defendants do not even need to show otherwise to recover their fees. (See Def.
 3 Br. at 12:18-26, citing Mattel, 705 F.3d at 1111 (denying the plaintiff’s attempt to
 4 “resurrect the long-rejected requirements of frivolousness and bad faith” for an award
 5 of fees under the Copyright Act), and Perfect 10, 2015 WL 1746484, at *9 & 11
 6 (reasoning that “the fact that Perfect 10’s copyright claims were not frivolous … does
 7 not undermine the Court’s ultimate conclusion that attorneys’ fees would promote the
 8 purpose of the Copyright Act and are appropriate in this case … [because] [a] finding
 9 of frivolity is not essential to award attorneys’ fees” and also finding determination of
10 objective unreasonableness to be “unnecessary”).) Still, Plaintiff’s claims here certainly
11 fit the mold. As Defendants showed, a claim is objectively unreasonable if the plaintiff
12 “should have known from the outset that its chances of success in the case were slim to
13 none.” (Def. Br. at 13:2-5, citing, inter alia, Perfect 10, 2015 WL 1746484, at *11.) 6
14 Crucially, “[a] claim that is not ‘objectively unreasonable’ at the outset can become so
15 if the litigant continues to pursue it when the litigant knew or should have known that
16 the chance of success was slim to none.” (Def. Br. at 13:6-9, citing Frost-Tsuji
17 Architects v. Highway Inn, Inc., 2015 WL 5601853, at *5 (D. Haw. Sept. 23, 2015).)
18         Here, in response to Defendants’ showing that Plaintiff never had any facts to
19 support its bare allegations that Defendants somehow issued their takedown notices in
20 subjective bad faith and without the necessary due diligence, all Plaintiff offers is its
21 rehashed reliance on ENTTech Media Grp. LLC v. Okularity, Inc., 2021 WL 916307, at
22 *8-9 (C.D. Cal. Mar. 10, 2021), which Plaintiff touts as purportedly blessing naked
23 assertions that “Defendants did not engage in any [due diligence] analysis prior to filing
24
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     6
      Plaintiff’s reliance on In re Nat’l Mass Media Telecomm. Sys., Inc., 152 F.3d 1178,
26 1181 (9th Cir. 1998), for a slightly different definition of frivolousness is misplaced
27 because it dealt with the standard for frivolous appeals: “An appeal is frivolous within
   the meaning of [Fed. R. App. P. 38] when ‘the result is obvious or the appellant’s
28 arguments of error are wholly without merit.’”
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 1 the DMCA take-down notices” as somehow providing sufficient allegations for
 2 subjective bad faith pleading under the statute.        (Opp’n at 3:23-4:20.)      But, as
 3 Defendants showed in their motion to dismiss briefing, the ENTTech plaintiff had more
 4 than that. The ENTTech plaintiff alleged that defendant failed to consider fair use
 5 because it “automatically generates [and submits] DMCA notices,” 2021 WL 916307,
 6 at *4. Since Plaintiff here pleaded no similar basis for its allegations (or any basis at
 7 all), the Court rightfully concluded that Plaintiff’s allegations “add up to nothing more
 8 than the allegation that Defendants mistakenly asserted rights in the works. This is not
 9 the same as alleging facts showing that Defendants subjectively, actually knew that they
10 misrepresented their rights or that Plaintiff’s conduct was infringing.” (Dismissal Order
11 at 5.) Furthermore, unlike the ENTTech plaintiff, Plaintiff here pleaded fraud (see id.
12 at 6 (finding that Plaintiff’s pleading triggered but failed to satisfy the heightened
13 standard under Rule 9(b)), thus further destroying any supposed notion that it could get
14 away with “general[]” intent pleading. (Opp’n at 8:20-23.)
15         Plaintiff fares no better in response to Defendants’ showing that Plaintiff’s own
16 allegations conclusively disclaimed any reliance and resulting damages here. Plaintiff
17 blames the Court for opening the very links pleaded in the complaint that show that
18 Plaintiff is now banned from Reddit for a reason that has nothing to do with Defendants.
19 (See Opp’n at 2:12-18.) Plaintiff still insists that despite what its own pleaded links
20 show—which showing is now confirmed by its sworn declaration (see Urbina Decl. at
21 ¶ 9)—the Court was still somehow obligated to accept “as true” Plaintiff’s allegations
22 blaming the ban on Defendants. This, of course, is not the law. (See Dismissal Order
23 at 4-5, citing Alamilla v. Hain Celestial Group, Inc., 30 F. Supp. 3d 943, 944 (N.D. Cal.
24 2014) (dismissing false advertising claims where plaintiff’s allegation that pressure-
25 treating juice reduces its nutritional value was directly contradicted by articles attached
26 to the complaint that stated pressurization has little effect on nutritional quality).)
27 Moreover, as Plaintiff’s own fact submissions now show, it had no evidence that even
28 its original ban for copyright infringement was a result of Defendants’ notices, as all it
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 1 offers are Reddit emails simply stating that Plaintiff got banned for “repeat copyright
 2 infringement” and for violation of “Reddit’s Content Policy.” (Dkt Nos. 54-2 & 54-3.)
 3 Even assuming that these emails could somehow produce an inference of Defendants’
 4 role in this ban, Plaintiff further testifies that it reinstated itself on Reddit as of
 5 September 15, 2021. (See Urbina Decl. at ¶ 7.) As such, when it amended its complaint
 6 on November 30, 2021, Plaintiff’s allegation that Defendant caused a “permanent[]”
 7 ban (FAC at ¶ 23) was knowingly false. Moreover, by the time Plaintiff amended its
 8 complaint, it had been already banned from Reddit for another reason altogether, yet it
 9 kept the original links in the FAC (and later in the SAC) as if they somehow showed
10 that Defendants caused the ban. (See Urbina Decl. at ¶ 9 (testifying that Plaintiff was
11 banned as of November 10, 2021 for a reason that had nothing to do with Defendants).)
12 Additionally, by November 30, 2021, Plaintiff knew that whatever Defendants did, they
13 only caused a temporary ban that lasted less than a month and that it would have been
14 banned anyway for a superseding reason that had nothing to do with these Defendants.
15 Yet neither of the two amendments even attempted to deal with the issue. As such, this
16 is the quintessential claim that might not have been “‘objectively unreasonable’ at the
17 outset [but then] … bec[a]me so” because Plaintiff “continue[d] to pursue it when [it]
18 knew or should have known that the chance of success was slim to none.” (Def. Br. at
19 13:6-9, citing Frost-Tsuji, 2015 WL 5601853, at *5.)
20        Finally, as Defendants also showed, all the remaining Fogerty factors similarly
21 counsel in favor of the requested award. (See Def. Br. at 11-15 (analyzing the degree
22 of success, motivation, compensation and deterrence factors).) Yet Plaintiff ignores all
23 of them, thus conceding that all the remaining factors weigh in favor of the fee award.
24 Accordingly, the Court should grant Defendants the fees they incurred in successfully
25 defending against Plaintiff’s claims under the fee shifting provisions of the Copyright
26 Act.
27        B.     Alternatively, The Conduct at Issue is Sanctionable.
28        As Defendants further demonstrated in their opening papers, both Plaintiff’s and
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 1 its counsel’s conduct in this action is sanctionable because their actions purposefully
 2 multiplied these proceedings in bad faith and without any proper basis for doing so.
 3 (See Def. Br. at 17-22 (collecting authorities demonstrating that such conduct is
 4 sanctionable under both the Court’s inherent authority and 28 U.S.C. § 1927, as well as
 5 L.R. 11-9 & 83-7 because Plaintiff and its counsel filed a baseless opposition to
 6 Defendants’ motion to dismiss).) Indeed, as Defendants further showed, “bad faith” for
 7 purposes of the requested sanctions includes conduct that is neither frivolous nor
 8 meritless. (See Def. Br. at 18:18-19:13, citing, inter alia, Fink v. Gomez, 239 F.3d 989,
 9 992 (9th Cir. 2001).) Thus, for example, presenting a valid claim for an improper
10 purpose would do. (See Def. Br. at 19:5-8, citing B.K.B. v. Maui Police Dep’t, 276 F.3d
11 1091, 1107 (9th Cir. 2002).) Alternatively, recklessly raising a frivolous argument
12 would qualify as well. (See id.) Crucially, courts agree that sanctions are appropriate
13 where plaintiff unreasonably delays dismissal of his frivolous claims. (See Def. Br. at
14 19:14-2-:11 (collecting cases).)
15         As Defendants further showed, Plaintiff and its counsel came to this Court
16 asserting claims they knew have been already litigated and decided, as well as state law
17 claims that, as “even the most cursory legal inquiry would have revealed,” were
18 preempted by the very federal statute that brought Plaintiff to this Court in the first place
19 (and were also inactionable under the California anti-SLAPP statute). (Def. Br. at 20-
20 22, citing, inter alia, Holgate v. Baldwin, 425 F.3d 671, 676 (9th Cir. 2005).)7 It was
21
22   7
        Plaintiff objects to Defendants’ reliance on Smith & Green Corp. v. Trustees of
23   Const. Indus. & Laborers Health & Welfare Tr., 244 F. Supp. 2d 1098, 1108 (D. Nev.
     2003), because sanctions there were awarded under Rule 11. The Smith court awarded
24   Rule 11 sanctions because it found that “plaintiff filed the complaint without performing
25   adequate legal research to confirm whether the theoretical underpinnings of the
     complaint were warranted by existing law or a good faith argument for an extension,
26   modification, or reversal of existing law. A reasonable and competent inquiry would
27   have revealed that plaintiff’s state law claims were preempted by [a federal statute].”
     Id. Here, the same conduct is sanctionable under this Court’s inherent powers. See
28   (footnote continued)
                                                11
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 1 only through (costly) meet and confer efforts that Plaintiff’s overpleaded claims
 2 eventually dwindled down to one DMCA claim, which Plaintiff and its counsel knew
 3 was unsupported, as discussed above.8          Throughout this process, Plaintiff kept
 4 threatening to drop this case as if it was always worthless and file seven more baseless
 5 actions in another court. In fact, after this Court’s Dismissal Order, which signaled that
 6 Plaintiff had no facts to proceed any further, Plaintiff remained defiant, proclaiming to
 7 Defendants: “I’m just going to keep suing you.” (Dkt. No. 53-3.) It is hard to come up
 8 with a better example of knowingly vexatious conduct.
 9         As such, Plaintiff’s attempt to distinguish Fink because Defendants supposedly
10 did not identify “reckless misstatements of law and fact” and did not point to “an
11
12 Disney Enterprises, 2017 WL 6819882, at *3 (finding bad faith to support an award of
   sanctions under the Court’s inherent powers because “[b]ad faith is present when an
13 attorney knowingly or recklessly raises a frivolous argument,” and “[a]ny reasonable or
14 competent inquiry” would have revealed that the established precedent precluded the
   party’s argument).
15 8
       Plaintiff’s attempt to distinguish R. Prasad Indus. v. Flat Irons Env’t Sols. Corp.,
16 2014 WL 4722487, at *6 (D. Ariz. Sept. 23, 2014), aff’d sub nom. R. Prasad Indus. v.
17 Douglas, 673 F. App’x 676 (9th Cir. 2016), is unavailing because Plaintiff invokes a
   strawman argument and then tries to attack it. Defendants never argued that the decision
18 stands for the proposition that “voluntary dismissal alone … [is] sanction worthy.”
19 (Opp’n at 12:5-7.) Rather, Defendants relied on Prasad to show that the court there
   found “voluntary withdrawal of the claim to be evidence of the claim’s legal or factual
20 weakness” (Def. Br. at 20:16-22). Just like the Court here, the Prasad court never got
21 a chance to rule on the voluntarily dismissed claims, yet found plaintiff’s voluntary
   dismissal of those claims in the face of opposing party’s arguments to provide evidence
22 that they were “so weak as to constitute objective evidence of improper purpose,” which
23 thus made them frivolous. 2014 WL 4722487, at *6. It was this finding, in conjunction
   with the court’s observations that “a reasonable and competent inquiry … would have
24 revealed that … [the claims] were wholly without merit,” that led the court to hold that
25 the claims were “both reckless and frivolous” and to conclude that counsel acted in
   “subjective bad faith[,] … [and] unnecessarily and unreasonably multiplied the
26 proceedings.” Id. at *6-8 (awarding sanctions based on these findings). In fact, Plaintiff
27 appears to refer to another motion at issue in Prasad altogether when it tries to inject
   additional considerations into the analysis at hand. (See Opp’n at 12:14-24, citing
28 Prasad, 2014 WL 4722487, at *9 (dealing with a different motion by another party).)
                                              12
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 1 improper purpose” (Opp’n at 11:23-12:4) is not well taken. This is because Defendants
 2 showed that: (1) Plaintiff and its counsel knew their claims had no factual support yet
 3 persisted with them anyway; moreover, their initially asserted state law claims were
 4 always preempted and/or precluded by anti-SLAPP, which even “most cursory legal
 5 inquiry would have revealed,” and (2) Plaintiff’s own communications confirm that it
 6 came to this Court with an improper purpose of vexatiously multiplying proceedings to
 7 drive up Defendants’ costs and extort a settlement. Plaintiff offers no other opposition
 8 on the sanctions front, aside from erroneously demanding safe harbor notices for a
 9 motion that did not seek sanctions under Rule 11 (see Opp’n at 10:22-11:3).9
10        In the end, as Defendants showed, “[h]ad counsel conducted any meaningful
11 research, he would have—and indeed should have—discovered” not only that Plaintiff
12 had no state law claims but also that it had no facts to assert a DMCA claim. (Def. Br.
13 at 17-22 (collecting cases).) Plaintiff’s tepid attempts to claim that it and its counsel
14 had a good faith basis to pursue its claims cannot hold water in the face of the clear
15 precedent showing the claims had no merits and Plaintiff’s own emails solidifying the
16 notion that it came here with an improper purpose. As such, the conduct here is the
17 kind that combines improper purpose with frivolousness, which makes it sanctionable.
18 (Def. Br. at 22:1-10, citing Disney Enterprises, 2017 WL 6819882, at *3 (finding bad
19 faith and imposing sanctions for knowingly frivolous filings, as they were “both
20 baseless and made without a reasonable and competent inquiry”), and Great Dynasty
21 Int’l Fin. Holdings Ltd. v. Haiting Li, 2014 WL 3381416, at *6-7 & 10-11 (N.D. Cal.
22 July 10, 2014) (finding bad faith and awarding sanctions pursuant to the court’s inherent
23 authority, as “[c]ounsel’s conduct was reckless and frivolous because a reasonable and
24
25   Defendants relied instead on L.R. 11-9 and 83-7 based on Plaintiff’s baseless
     9

26 opposition to their motion to dismiss. This Court has held that safe harbor notices are
   not required to proceed under these Local Rules. (See Def. Br. at 18:5-9, citing Disney
27 Enterprises, 2017 WL 6819882, at *3.)
28
                                           13
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 1 competent inquiry into the law would have revealed,” inter alia, that the claims were
 2 meritless, and the award of sanctions “would both vindicate the Court’s judicial
 3 authority while also make Defendants whole for expenses incurred to defend the
 4 frivolous claims”).)
 5                                      CONCLUSION
 6         Plaintiff and its counsel knew Plaintiff had no claims, yet they still caused
 7 Defendants to incur at least $82,486.40 in indisputably reasonable fees to defend
 8 themselves in this baseless action. Undaunted, Plaintiff has threatened seven more of
 9 similarly meritless actions. Indeed, Plaintiff’s ominous last words to Defendants were:
10 “I’m just going to keep suing you.” As such, Plaintiff will continue abusing the judicial
11 system and extorting settlement from these Defendants unless the Court makes it cost-
12 prohibitive for Plaintiff to persist in its vexatious ways. Defendants prevailed on the
13 merits, all the Fogerty factors cut in favor of the award of attorney’s fees, and this is a
14 quintessential case where the successful defense under the Copyright Act has furthered
15 the purposes of the statute. Accordingly, as Defendants showed in their opening papers
16 and further demonstrated herein, the Motion should be granted. Alternatively, the Court
17 should impose sanctions in the amount of the aforementioned indisputably reasonable
18 attorney’s fees based on Plaintiff’s and its counsel’s bad faith litigation conduct.
19
20 DATED: June 3, 2022                                GERARD FOX LAW P.C.
21
                                                      /s/ Marina V. Bogorad
22                                                    GERARD P. FOX
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23
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